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                      IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO

DENNIS P. RIVERO, M.D.,

              Plaintiff,

v.                                                       Cause No. 16-cv-00318 JB/SCY



BOARD OF REGENTS OF THE UNIVERSITY
OF NEW MEXICO d/b/a UNIVERSITY OF NEW
MEXICO HEALTH SCIENCES CENTER,

              Defendant.

DEFENDANT UNIVERSITY OF NEW MEXICO BOARD OF REGENTS’ RESPONSE
BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
AND MEMORANDUM OF LAW AS TO CERTAIN OF DEFENDANT BOARD OF
REGENTS OF THE UNIVERSITY OF NEW MEXICO’S AFFIRMATIVE DEFENSES

       COMES NOW Defendant Board of Regents of the University of New Mexico (“UNM”),

by and through its Counsel of Record, Park & Associates, L.L.C. (Alfred A. Park and Lawrence

M. Marcus), and hereby files this Response Brief In Opposition To Plaintiff’s Motion For

Summary Judgment and Memorandum of Law as to Certain of Defendant Board of Regents of

the University Of New Mexico’s Affirmative Defenses. For its Response, UNM STATES AS

FOLLOWS:

                 I. PLAINTIFF’S “UNDISPUTED MATERIAL FACTS”

       1. UNM does not dispute Plaintiff’s Undisputed Material Fact No. 1.

       2.   UNM disputes Plaintiff’s Undisputed Material Fact No. 2. While Plaintiff was

promoted to the rank of Professor, nothing in the letter attached as Exh. 14 indicated that he

received “enthusiastic and often glowing recommendations from colleagues and peers.” As

Plaintiff, Dr. Rivero has the burden of production. Moreover, this fact is immaterial. After
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Plaintiff was promoted, he began to exhibit increased incidents of unprofessional behavior.

Additional Material Fact No. 1.

       3.      UNM does not dispute Plaintiff’s Undisputed Material Fact No. 3. However,

UNM notes that this fact actually weakens Plaintiff’s claims, as Plaintiff admits that he was

never subjected to an adverse employment action.

       4.      UNM does not dispute Plaintiff’s Undisputed Material Fact No. 4. UNM adds that

Plaintiff operated on patients with whom he had a pre-existing relationship, and assisted other

UNM physicians. Additional Material Fact No. 2.

       5.      UNM admits that Plaintiff attempted to increase his level of participation to closer

to full-time. UNM disputes the inference that any agent of UNM “promised” him that he could

return to full time, much less that this was contractually binding. Plaintiff merely had a

conversation with Dr. Schenck and was told informally that he could return if he so desired.

Moreover, this alleged Material Fact is not actually material. Plaintiff has not sued UNM for

breaking a “promise,” and the alleged Material Fact has no bearing on whether his claims under

the Rehabilitation Act are time-barred or otherwise without merit.

       6.      UNM admits that many UNM officials opposed Plaintiff’s full-time return.

However, UNM states that this is immaterial to his claims under the Rehabilitation Act, because

this opposition was justified. See, e.g., Additional Material Fact No. 1.

       7.      UNM does not dispute that Dr. Rivero continued to work full-time in Oklahoma.

However, UNM notes that this is immaterial to his history of unprofessional behavior at UNM. It

is certainly immaterial to UNM’s affirmative defenses concerning the statute of limitations.

       8.      UNM does not dispute that Dr. Rivero filed a complaint with the Academic

Freedom and Tenure Committee. UNM disputes that the “obstacles” to Plaintiff’s return to full



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time were unnecessary. Plaintiff’s history of unprofessional behavior justified the opposition to

Plaintiff’s return to full-time work. See, e.g., Additional Material Fact No. 1

       9.      UNM admits Plaintiff’s Undisputed Material Fact No. 9.

       10.     UNM admits that Plaintiff received the Addendum described in Plaintiff’s

Undisputed Material Fact No. 10.

       11.     UNM disputes whether the Addendum was materially different from that agreed

upon by Plaintiff and Dr. Schenck. For the purposes of this lawsuit, the only relevant portion of

the Addendum pertained to the four part examination by a board certified psychiatrist. Plaintiff

explicitly agreed to four counseling sessions, and understood that these sessions would be carried

out by a psychiatrist. Plaintiff was corresponding with a psychiatrist, Dr. Jeff Katzman, for this

purpose. Additional Material Fact No. 3

       12.     UNM disputes “Undisputed Material Fact No. 12.” See Response to Undisputed

Material Fact No. 11.

       13.     UNM admits that Plaintiff would have been required to obey the terms of the

Addendum had he returned to a 0.75 Full Time Equivalent (“FTE”) employment. However, the

only citation that Plaintiff has provided in support of this “undisputed material fact,” UNM’s

Response to Request for Admission No. 17, provides no support for Plaintiff’s claim that the

Addendum was strict, draconian, and onerous. Such a claim is a matter of opinion in any event.

Accordingly, that portion of Undisputed Material Fact No. 3 is disputed.

       14. UNM admits that Dr. Schenck did not consult any written policies prior to giving his

recommendations for Dr. Rivero’s return to near full time employment. However, Dr. Schenck

did consult with other individuals, including the head of the Academic Freedom and Tenure

Committee, prior to meeting with Plaintiff. Additional Material Fact No. 4. Moreover, Dr.



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Schenck was a aware that UNM had enlisted mental health professionals, including a

psychiatrist, to assist employees with professionalism issues. Additional Material Fact No. 5.

Therefore, Dr. Schenck was aware that UNM did have, at least, informal policies regarding the

use of mental health providers to assist with professionalism issues. In any event, the

psychological evaluation was not Dr. Schenck’s idea. Additional Material Fact No. 6.

Accordingly, Plaintiff’s Undisputed Fact No. 14 is immaterial to the question of whether UNM

followed its policies.

       15. UNM admits that Dr. Schenck admitted that the Addendum was "a little draconian."

However, this is immaterial, as this is a matter of opinion, and Dr. Schenck did not draft the

Addendum. Additional Material Fact No. 7

       16-22. Plaintiff’s Facts 16-22 are immaterial to this litigation, and UNM is not required to

respond to them. These facts are the subject of another action current pending in state court,

styled as Rivero v. Bd. of Regents of the Univ. of N.M., et al., New Mexico State Cause No. D-

202-CV-2011080104. In addition, this Court should abstain from considering them because they

are immaterial to the question of whether the psychological evaluation requirement violated the

Rehabilitation Act.

       23. UNM does not dispute that the affidavits described in Undisputed Material Fact No.

23 were filed, attesting to complete production of documents. However, UNM states that this is

immaterial, as this complete production included many documents that provide ample support

for the medical evaluation requirement. Additional Material Fact No. 8.

       24. UNM does not dispute that Plaintiff included the language described in “Undisputed

Material Fact” No. 24 in his Complaint, his deposition testimony, and his resignation letter.

However, UNM disputes the factual basis behind that language, and notes that Plaintiff has not



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included any evidentiary support for the allegations that he cited in Undisputed Material Fact No.

24.

           25.    UNM does not dispute that, in his Complaint, deposition testimony, and

resignation letter, Plaintiff stated that he subjectively believed that UNM became an

“unendurable” place to work. UNM disputes that UNM was objectively unendurable for

Plaintiff, and notes that he does not include any evidentiary support for any such objective claim.

           26. UNM does not dispute that Plaintiff made the statements described in Undisputed

Material Fact No. 26 regarding his subjective feelings in his resignation letter. UNM states that

Plaintiff has not produced any evidence that would support the objective truth of these

statements. Undisputed Material Fact No. 26 is thus disputed to the extent that it is intended to

demonstrate any objective statement regarding Plaintiff’s working conditions.

           27. UNM does not dispute that Plaintiff filed an administrative claim with the EEOC,

and that the EEOC decided not to pursue the claim.

           28-30. UNM does not dispute the procedural history regarding the first Motion to

Dismiss, as described in Undisputed Material Facts 28-30.

           31. UNM admits that the Court granted in part Plaintiff’s Motion to Amend.

However, the Court denied this Motion in part, as well. The proposed Amended Complaint

contained four causes of action. The Court only permitted one cause of action to be included in

the Amended Complaint. Order Granting Motion to Dismiss [Doc. No. 24, entered Aug. 30,

2016] at 14-16.

           32-38. UNM admits the procedural history regarding the First Amended Complaint

and the Motion to Dismiss, as described in Undisputed Material Facts 32-38, but states that it is

immaterial. While the Court denied the Motion to Dismiss regarding the First Amended



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Complaint, this Court has the discretion to revisit that decision at any time, as set forth below in

this Response.

       39-40. UNM admits that it filed an answer to Plaintiff’s First Amended Complaint,

containing the described affirmative defenses.

       41. UNM admits that Plaintiff sought factual explanations for its affirmative defenses.

       42. UNM admits that, in support of its affirmative defenses pertaining to Plaintiff’s

failure to state a claim and the time-barred nature of Plaintiff’s causes of action, UNM cited its

Motion to Dismiss Plaintiff’s Amended Complaint. However, this is immaterial. As set forth

below, the order denying the Motion to Dismiss was non-final, and this Court can thus revisit the

Order at any time. Moreover, more support for UNM’s statute of limitations defense was later

provided by Plaintiff himself, when he admitted that, at the time of that he filed his EEOC

Complaint, he believed “very strongly” that his rights were violated. Additional Material Fact

No. 9. Accordingly, UNM’s statute of limitations defense is well supported.

       43. UNM admits that it withdrew certain affirmative defenses. This is immaterial,

because these defenses are not at issue in the instant motion.

       44. UNM admits that it responded to Interrogatory No. 2, with respect to Affirmative

Defense No. XIII, with reference to its concerns about professionalism. However, UNM further

discussed its policies concerning professionalism in response to Interrogatory No. 4, which

contained a detailed description of professionalism issues and how it approaches them.

Additional Fact No. 10. UNM further discussed the professionalism requirements instituted in or

around 2008 by the Joint Commission, upon which UNM relies for accreditation. Additional

Fact No. 11. Therefore, policy requires UNM to address professionalism concerns. UNM has

provided evidence that, on a number of occasions, it determined that a psychological evaluation



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is an appropriate means of addressing professionalism issues.          Additional Fact No. 12.

Accordingly, Undisputed Material Fact No. 44 is technically true but immaterial, as UNM has

provided substantially more information than Plaintiff implies.

       45. UNM admits that it stated that it has no set policy regarding mental examinations.

However, this is immaterial because UNM has strong policies regarding professionalism and has

a history of using psychological evaluations to address concerns about professionalism.

Additional Material Facts 10-12.

       46. UNM admits that it answered Interrogatory No. 2, as it pertained to Affirmative

Defense No. XIV, in the manner described by Plaintiff. However, this is immaterial because, as

noted above, its Response to that Interrogatory, as it pertains to various other affirmative

defenses, demonstrated that the psychological evaluation was job related and consistent with

business necessity, given UNM’s concern for professionalism. Accordingly, UNM acted

consistently with its applicable statutory and contractual obligations, which allow medical

examinations that are job related and consistent with business necessity.

       47.     UNM admits Undisputed Material Fact No. 47, and does not plan to argue any

previously unidentified affirmative defenses, unless additional affirmative defenses become

known or available during trial based on unknown or unexpected witness testimony.

                           II. ADDITIONAL MATERIAL FACTS

       1.      After Plaintiff was promoted to full professor, he began to exhibit increased

incidents of unprofessional behavior. See, e.g., UNM’s Amended Motion for Summary Judgment

[Doc. No. 143, filed Dec. 8, 2017] at 4-6.




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            2.       While Plaintiff was working at a 0.05 FTE at UNM, he generally operated on

patients with whom he had a pre-existing relationship, or else assisted other UNM physicians.

Deposition of Dr. Dennis Rivero, attached hereto as Exh. A, P. 175, 1. 25- P. 176, 1. 20.

            3.       After meeting with Dr. Robert Schenck in December, 2010, for the purpose of

returning to full-time employment, Dr. Rivero began corresponding with a psychiatrist, Dr. Jeff

Katzmann, for the purpose of meeting with him for counseling. Id., Exh. 13.

            4.       Dr. Schenck consulted with other individuals, including Dr. Victor Strassburger

of UNM Hospital’s Academic Freedom and Tenure Committee, prior to meeting with Plaintiff to

discuss his return to near full-time employment. Deposition of Dr. Robert Schenck, attached

hereto as Exh. B, P. 105, l. 1 – P. 106, l. 16.

        5.           Dr. Schenck was aware that UNM had previously enlisted mental health

professionals, including a psychiatrist, to assist employees with professionalism issues. Id., P. 80,

ll. 8-22.

       6.        The psychological evaluations at issue were not Dr. Schenck’s idea. Id., P. 119, ll. 7-

10.

       7.        Dr. Schenck did not draft the addendum at issue. Id., P. 113, ll. 7-16.

       8.        The documents produced by UNM provided ample support for the psychological

evaluation requirement. See, e.g., UNM’s Amended Motion for Summary Judgment [Doc. No.

143, filed Dec. 8, 2017] at 4-6, and documents cited therein.

      9.         At the time that he filed his EEOC Complaint, in January 2012, Plaintiff felt “very

strongly” that his rights were violated. Rivero Deposition, P. 268, ll. 8-19.

      10.        UNM’s responses to Plaintiff’s Interrogatory No. 4 contain a detailed discussion of

the importance of professionalism, and demonstrate that unprofessional behavior is not tolerated



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under UNM’s policies. UNM’s Second Supplemental Responses to Plaintiff’s First Set of

Interrogatories, Requests for Production, and Requests for Admission, attached hereto as Exh. C,

at 4-8.

    11.          UNM’s answers to Interrogatory No. 4 also indicate that the Joint Commission, which

provides accreditation to UNM, takes unprofessional behavior very seriously. Id.

    12.          UNM’s answers also show that it has a history of referring physicians exhibiting

unprofessional behavior to mental health professionals for evaluation. Id. at 2-3.

           III. PLAINTIFF IS NOT ENTITLED TO SUMMARY JUDGMENT AS TO
                             AFFIRMATIVE DEFENSES I-III

          Contrary to Plaintiff’s contention, this Court is not bound by the earlier Order [Doc. No.

43, entered Dec. 22, 2016] denying UNM’s Motion to Dismiss Plaintiff’s Amended Complaint

[Doc. No. 33, filed Oct. 7, 2016], regarding Affirmative Defenses I-III. These Affirmative

Defenses were as follows:

          I.        Plaintiff failed to state a claim for which relief can be granted.

          II.       Plaintiff’s claims are barred by the statute of limitations.

          III.      Plaintiff’s claims are barred by the doctrine of laches and waiver.

          UNM’s Motion to Dismiss concerned these affirmative defenses, which collectively state

that Plaintiff’s claim for the allegedly improper psychological evaluation was time-barred, and

that Plaintiff did not state a claim for constructive discharge. The federal Rehabilitation Act,

which does not require exhaustion of administrative remedies, incorporates New Mexico’s three

year personal injury statute of limitations. Plaintiff based his Complaint on his claim that UNM

violated the Rehabilitation Act by requiring him to undergo a psychological evaluation in early

2011, as a condition of an increase in his hours from 0.05 Full Time Equivalent (“FTE”) to 0.75

FTE. When he refused to undergo the psychological evaluation, he remained employed at UNM,

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at 0.05 FTE but without further difficulties, until he left UNM in May of 2014. Plaintiff alleges

that he was constructively discharged when he received affidavits from two UNM employees

stating that they had no further documents pertaining to his employment. These two UNM

employees submitted these documents in January of 2014 in response to a mandamus action

brought by Plaintiff seeking the release of all files pertaining to his employment. Plaintiff

claimed that he then “became aware” that UNM supposedly had no justification for the

psychological evaluation, and that this “awareness” caused his constructive discharge.

       UNM moved to dismiss on statute of limitations grounds, noting that Plaintiff was aware

of the psychological evaluation requirement no later than March 2011, at which time Plaintiff’s

claim accrued. Because Plaintiff did not bring the instant litigation until April 2016, Plaintiff’s

claims were time barred. The Court denied UNM’s Motion to Dismiss Plaintiff’s Amended

Complaint. In so doing, it determined that Plaintiff’s Complaint, while only explicitly claiming

one cause of action, was best considered as two causes of action: one for the allegedly improper

medical examination itself, and one for the constructive discharge. The Court stated that these

causes of action accrued at two different times.

       The Court held that the cause of action for the medical examination claim accrued in

January 2014, when the affidavits were submitted, and that the cause of action for the

constructive discharge accrued in May 2014, when Plaintiff actually resigned his employment.

Order Denying Motion to Dismiss [Doc. No. 43, entered Dec. 22, 2016] at 8-9. However, as set

forth below, this Court can and should reconsider that decision. Accordingly, summary judgment

in Plaintiff’s favor is inappropriate as to Affirmative Defenses 1-2, at least concerning Plaintiff’s

claim regarding the medical evaluation.




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        In its Order, the Court also stated that Plaintiff had stated a claim for constructive

discharge, and that this claim was not time-barred, because his cause of action accrued when he

resigned. Id., at 9. While it is clearly established that a claim for constructive discharge accrues

when an employee resigns, this Court can and should overturn the portion of the Order that held

that Plaintiff had stated a claim for constructive discharge. Accordingly, Plaintiff should not be

granted summary judgment as to Affirmative Defense No. 1, concerning Plaintiff’s claim for

constructive discharge.

     A. THIS COURT IS NOT BOUND BY THE “LAW OF THE CASE” DOCTRINE
        REGARDING AFFIRMATIVE DEFENSES I-III; IT CAN AND SHOULD
          RECONSIDER EARLIER, NON-FINAL DECISIONS IN THE CASE

     Contrary to Plaintiff’s contention, this Court has the discretion to reconsider parts of the

Order denying UNM’s Motion to Dismiss, and to hold that Plaintiff’s medical examination

claims are barred by the applicable statute of limitations. In addition, the Court has the discretion

to hold that Plaintiff failed to state a claim for constructive discharge upon which relief can be

granted. The denial of UNM’s Motion to Dismiss was a non-final order. Motions to reconsider

final orders are only valid under certain circumstances, but when a court enters a non-final order,

as is the situation in the present case, it is free to reconsider that order for any reason at any time

prior to the entry of a final order.

        “A motion to reconsider any order that is not final is a general motion directed at the

Court’s inherent power to reopen any interlocutory matter in its discretion.” Pedroza v. Lomas

Auto Mall, Inc., 258 F.R.D. 453, 462 (D.N.M. 2009). As such, “district courts generally remain

free to reconsider their earlier interlocutory orders. As Rule 54(b) states, if a court does not enter

final judgment as to particular claims or parties in a multi-party or multi-claim case, then any

order or other decision, however designated, that adjudicates fewer than all the claims or the



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rights and liabilities of fewer than all of the parties does not end the action as to any of the claims

or parties and may be revised at any time before the entry of a judgment adjudicating all the

claims and all the parties’ rights and liabilities.” Id. (citations omitted) (emphasis added).

       The Order denying the Motion to Dismiss was entirely interlocutory: it provided a final

judgment as to none of the rights and liabilities of any of the parties. Accordingly, Plaintiff’s

claim that UNM’s statute of limitations defenses are barred by the “law of the case” doctrine is

without merit. The cases cited by Plaintiff in support of his “law of the case” claims are entirely

immaterial to the instant case. Both of those cases concerned the question of whether an earlier

appellate ruling could be overturned; neither discussed interlocutory district court orders. In U.S.

v. Monsisvais, 946 F.2d 114, 115 (10th Cir. 1991), a criminal defendant appealed the denial of a

motion to suppress evidence. The Tenth Circuit reversed, holding that the evidence should have

been suppressed. Id. On remand, the government moved for a supplemental hearing, requesting

that it be permitted to introduce the evidence, and the district court granted this request, contrary

to the Tenth Circuit’s mandate. Id. The Tenth Circuit held that this was improper, based on the

law of the case doctrine, holding that the district court “was obligated to follow this court’s

determination.” Id. at 118 (emphasis added) The Tenth Circuit went on to state that “a different

result would allow the district court to substitute its opinion for that of this court, which is what

the law of the case doctrine is intended to avoid.” Id. Quite simply, the law of the case doctrine is

meant to require that district courts remain consistent with earlier appellate rulings. It is not

applicable to a district court’s own non-final orders.

       Similarly, in U.S. v. Alvarez, 142 F.3d 1243 (10th Cir. 1998), the Tenth Circuit

considered another motion to suppress that had previously generated an appellate ruling. In that

case, the district court had granted the motion to suppress, but that decision had been overturned



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by another Tenth Circuit panel. Alvarez, 142 F.3d at 1246. On remand, the defendant brought a

second motion to suppress, but the district court, in accordance with the Tenth Circuit’s ruling,

refused to revisit the issue. Id. The defendant appealed to the Tenth Circuit, which affirmed the

district court’s decision, as it was consistent with that of the earlier panel. Id., at 1246-48 Again,

the law of the case doctrine was correctly invoked because of an earlier appellate decision, rather

than an interlocutory district court ruling.

        In fact, the Tenth Circuit has already considered the question of whether the law of the

case doctrine, as stated in Monsisvais and Alvarez, is applicable to interlocutory district court

rulings, and has already distinguished those two cases from those pertaining to interlocutory

orders. Allison v. Bank One-Denver, 289 F.3d 1223, 1247 (10th Cir. 2002). In Allison, the Tenth

Circuit upheld a district court decision on a cost award that appeared, at first glance, to contradict

an earlier, oral ruling by the district court. In so doing, the Court stated:


                Bank One claims that this ruling became the law of the case and, as
                a result, the district court could not “reverse” the ruling in the same
                case. Bank One’s argument relies on cases that are relevant where
                a district court attempts to avoid a decision of a higher court in the
                same case, or perhaps where an appellate panel deviates from the
                decision of a prior panel. See, e.g., United States v. Alvarez, 142
                F.3d 1243, 1247 (10th Cir.1998) (reviewing exceptions in
                determining whether to depart from a prior panel decision);United
                States v. Monsisvais, 946 F.2d 114, 115-16 (10th Cir. 1991)
                (discussing law of the case in terms of district court adherence to
                appellate decisions). A lower court’s ability to depart from its own
                prior decisions is discretionary.

289 F.3d at 1247.

        Just as the district court in Allison had the discretion to overturn a prior trial court ruling,

this Court has the discretion to overturn the Order denying UNM’s Motion to Dismiss.

Accordingly, summary judgment is inappropriate.



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  B. PLAINTIFF FAILED TO STATE A CLAIM THAT WAS NOT BARRED BY THE
  STATUTE OF LIMITATIONS: BASED ON THE ALLEGATIONS OF PLAINTIFF’S
  COMPLAINT, PLAINTIFF’S CAUSE OF ACTION BASED ON THE ALLEGEDLY
           IMPROPER MEDICAL EXAMINATION ACCRUED IN 2011

       Accordingly, this Court has the discretion to revisit the denial of the Motion to Dismiss,

and to alter that decision so that it is more consistent with applicable law. For instance, in

denying the Motion to Dismiss as to both of Plaintiff’s causes of action, the Court held that the

cause of action for the medical examination claim accrued in January of 2014. However, the

weight of authority actually demonstrates that the claim accrued in March of 2011. Plaintiff

alleges that he received the Addendum with this requirement at that time. It is true that the

general rule states that a claim accrues when the plaintiff has a “complete and present cause of

action,” this occurs “when the plaintiff can file suit and obtain relief.” Wallace v. Kato, 549 U.S.

384, 388 (2007). As noted above, in the context of a civil rights claim, the cause of action

accrues, indicating a “complete and present cause of action” when the plaintiff finds out about

the injury, not when the plaintiff obtains all relevant facts. See, e.g., Baker, 991 F.2 at 632.

Moreover, it is not even necessary for the plaintiff to be aware of facts that would indicate that

an action violated his constitutional rights. For instance, an individual subject to an illegal search

and seizure “had a complete and present cause of action” on the date of the seizure itself, not the

date on which a court ruled that the seizure was illegal. Filer v. Polston, 886 F. Supp. 2d 790,

796 (S.D. Ohio 2012). This is because “the discovery rule hinges upon actual, as opposed to

legal, injury.” Id., citing Oshiver v. Levin, Fishbein, Sedran & Berman, 38 F.3d 1380, 1391, n.9

(3rd Cir. 1994)

       The instant case is closely analogous to Filer. As noted above, the standard for accrual is

the same for all civil rights cases. Therefore, just as a §1983 claim for an allegedly illegal search

accrues on the date of the search rather than on the date of the discovery of the illegality, a

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Rehabilitation Act claim for an allegedly improper medical examination requirement accrues on

the date that the plaintiff was informed of the requirement rather than on the date that the

plaintiff determines that the requirement was supposedly improper. It is undisputed that Plaintiff

received the Addendum, and expressed concerns about its supposedly egregious language, no

later than March of 2011. Accordingly, it is time-barred, so Plaintiff is not entitled to summary

judgment as to the statute of limitations defense regarding that cause of action.

 C. FACTS OF THE CASE REVEALED THROUGH DISCOVERY INDICATE THAT
PLAINTIFF’S MEDICAL EXAMINATION CLAIM ACCRUED IN JANUARY OF 2012

       Moreover, even assuming, ad arguendo, that the allegations in plaintiff’s complaint

indicate that his medical examination claim accrued in January of 2014, the facts revealed

through discovery demonstrate that Plaintiff’s cause of action actually accrued at least two years

earlier, in January of 2012. In his deposition, Plaintiff authenticated a charge of discrimination

that he had submitted to the EEOC claiming that the psychological evaluation violated his rights

under the Title I of Americans with Disabilities Act, in the same manner that his current

Complaint alleges a cause of action under the Rehabilitation Act. This Charge did not toll the

statute of limitations, as UNM is immune to claims under Title I of the ADA, and claims made

under the Rehabilitation Act do not require that a plaintiff bring a prior administrative action.

Rather, the charge demonstrates that, as of January 20, 2012, Plaintiff was not only aware of the

psychological evaluation requirement, but he also believed that this requirement violated his

rights. When questioned about this at his deposition, Plaintiff admitted that, at the time, he

believed “very strongly” that his rights were violated. Additional Material Fact No. 9. Quite

simply, it is clear from Plaintiff’s own testimony as well as his Complaint that he had a complete

and present cause of action no later than January 20, 2012, more than three years before he




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brought his original complaint in the instant action. Accordingly, Plaintiff is not entitled to

summary judgment as to UNM’s statute of limitations affirmative defense.

 C. PLAINTIFF FAILED TO STATE A CLAIM FOR CONSTRUCTIVE DISCHARGE,
SO SUMMARY JUDGMENT IS INAPPROPRIATE AS TO AFFIRMATIVE DEFENSES
                                I & III

       Moreover, while UNM concedes that Plaintiff’s cause of action for constructive

discharge did not accrue until Plaintiff actually resigned, it is clear that neither Plaintiff’s

complaint nor facts developed through discovery establish a claim for constructive discharge.

While the undisputed material facts of the case certainly demonstrate that UNM is entitled to

summary judgment regarding Plaintiff’s constructive discharge claim, UNM also maintains that

Plaintiff never stated a claim for constructive discharge. The Court denied UNM’s motion to

dismiss this issue. However, as noted above, the Court is free to revisit this interlocutory decision

at any time.

       In general, “[c]onstructive discharge occurs when an employer deliberately makes or

allows the employee’s working conditions to become so intolerable that the employee has no

other choice but to quit. A finding of constructive discharge depends upon whether a reasonable

person would view the working conditions as intolerable, not upon the subjective view of the

employee-claimant.” MacKenzie v. City and County of Denver, 414 F.3d 1266 (10th Cir. 2005).

“The bar is quite high” for proving constructive discharge. Garrett v. Hewlett–Packard Co., 305

F.3d 1210, 1221 (10th Cir.2002). Thus, Plaintiff must show that UNM took a deliberate action.

Moreover, Plaintiff must also show that this deliberate action affected his actual working

conditions, not his subjective view of those conditions.

       In his Complaint, Plaintiff’s sole claim regarding constructive discharge concerned the

filing of affidavits by two UNM officials, in a state mandamus action, indicating that all



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documents had been submitted. This convinced Plaintiff that UNM had no grounds for the

psychological evaluation that it ordered Plaintiff to undergo as a condition of increased hours of

employment. As a consequence, Plaintiff alleged that conditions had become intolerable.

However, Plaintiff does not allege that the affidavits that UNM submitted actually affected his

working conditions. Rather, he only alleges that they affected his subjective view of those

working conditions. Moreover, the submission of the affidavits was not a deliberate act by UNM,

but an action ordered by the state Court, in response to an action brought by Plaintiff. Quite

simply, the only deliberate act at issue in the instant case was the requirement that Plaintiff

undergo a psychological evaluation. As described in UNM’s Motion for Summary Judgment,

this was not sufficient to allow for a constructive discharge claim.

       However, even assuming for the purposes of the instant motion that the psychological

evaluation requirement was sufficient to allow for a constructive discharge claim, Plaintiff

simply waited too long to resign. If an employee does not leave his employment “within a

reasonable time after last being the subject of discrimination, [the employee] cannot prevail

under a constructive discharge theory.” Smith v. Bath Iron Works Corp., 943 F.2d 164, 167 (1st

Cir. 1991). Generally, courts have found no constructive discharge where there was a gap of

several months between discriminatory conduct and resignation, and one court held that a two-

week gap was sufficient to foreclose a claim. Id (collecting cases).

       While the Court stated that “[w]hile UNM is correct that constructive discharge is viewed

from an objective standpoint, it has not pointed out any case nor made any persuasive argument

that a reasonable professional would not remain working to resolve an issue such as this and

would feel that they had no choice but to quit upon learning that their employer had no basis for

ordering psychiatric testing.” However, as noted above, this Court can revisit that ruling. As



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noted above, a claim for constructive discharge requires that working conditions become “so

intolerable that the employee has no other choice but to quit.” Order Denying Mot. to Dismiss, at

9. The fact that Plaintiff remained at UNM for three years after being given this supposedly

onerous Addendum demonstrates that he clearly did not find the conditions so terrible that he felt

he had no choice but to quit. Further, even assuming, ad arguendo, that it was the filing of the

affidavits that supposedly rendered Plaintiff’s working conditions intolerable, these affidavits

were filed in January of 2014, yet Plaintiff did not resign his employment until May of that year.

As noted in Smith and other cases, even that four-month gap is too long to allow for a claim of

constructive discharge.

       Moreover, while Plaintiff is correct in that his claim for constructive discharge is not

barred by the statute of limitations, it could be said that he waived his claim by remaining at his

position for over three years. Plaintiff correctly notes that, under Green v. Brennan, 136 S. Ct.

1769 (2016), a cause of action for constructive discharge accrues on the date of the plaintiff’s

resignation. However, this does not mean that a prospective plaintiff can toll a statute of

limitations indefinitely by staying at a position that he later claims to be intolerable. Quite

simply, Plaintiff failed to state a claim for constructive discharge, and clearly cannot argue that a

position at which he remained for three years was intolerable. Accordingly, Plaintiff is not

entitled to summary judgment as to affirmative defenses I-III.

     IV. PLAINTIFF IS NOT ENTITLED TO SUMMARY JUDGMENT AS TO
  AFFIRMATIVE DEFENSE XIII: UNM HAS SUBSTANTIAL FACTUAL SUPPORT
                           FOR THIS DEFENSE

       Moreover, contrary to Plaintiff’s contentions, UNM has ample factual support for its

Affirmative Defense No. XIII. This Affirmative Defense states that UNM “acted in accordance

with its policies and regulations, and applied such policies and regulations consistently and



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fairly.” UNM has produced substantial evidence in support of that defense. It is true that UNM

has no formal set policies pertaining to requiring physicians to undergo mental evaluations.

However, UNM does have policies indicating that unprofessional behavior be addressed swiftly

and decisively. Additional Material Fact No. 10. Moreover, the Joint Commission, upon which

UNM relies for its accreditation, also requires that medical facilities address unprofessional

behavior. Additional Material Fact No. 11. It is well settled that an employer can use

psychological evaluations to determine the cause of unprofessional behavior without violating

the Americans With Disabilities Act. “Employers need to be able to use reasonable means to

ascertain the cause of troubling behavior without exposing themselves to ADA claims....”

Lanman v. Johnson Cnty., Kan., 393 F.3d 1151, 1157 (10th Cir. 2004). Moreover, “[p]ersonality

conflicts among coworkers (even those expressed through the use (or misuse) of mental health

terminology) generally do not establish a perceived impairment on the part of the employer.”

Plaintiff had demonstrated episodes of severe unprofessional behavior, which UNM was required

to address pursuant to its policies and those of its accreditation body. Additional Fact No. 8.

Accordingly, UNM was acting consistently with those policies when it required the

psychological evaluations at issue.

       Moreover, it is irrelevant that UNM has no set formal policies governing when a

physician exhibiting unprofessional behavior is referred to a mental health evaluation. It is

sometimes hard to determine whether a pattern of unprofessional behavior is sufficiently severe

to warrant such an evaluation, so developing a formal policy, covering all foreseeable

contingencies, would be practically impossible. There is evidence, however, that psychological

examinations are a reasonable part of UNM’s arsenal for determining the causes of

unprofessional behavior, as physicians have been referred to such examinations in the past.



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Additional Fact No. 12. It is also irrelevant that Dr. Schenck did not consult any such policies.

Dr. Schenck did not draft the Addendum, and did not suggest that Plaintiff undergo a

psychological evaluation. On balance, it is clear that the psychological evaluations were

consistent with UNM’s policies concerning unprofessional behavior. Accordingly, Plaintiff is not

entitled to summary judgment as to Affirmative Defense No. XIII.

       V. PLAINTIFF IS NOT ENTITLED TO SUMMARY JUDGMENT AS TO
   AFFIRMATIVE DEFENSE XIV: UNM HAS SUBSTANTIAL FACTUAL SUPPORT
                            FOR THIS DEFENSE


    Finally, contrary to Plaintiff’s contentions, UNM has ample factual support for its

Affirmative Defense No. XIV. This affirmative defense states that “UNM fulfilled any and all

obligations it had to Plaintiff under contract or statute.” In its responses to Plaintiff’s

Interrogatories, UNM simply referred to the other affirmative defenses. Plaintiff now moves to

strike this affirmative defense on the grounds that this is an insufficient response. However, the

facts supporting the other affirmative defenses clearly also support UNM’s defenses that it

fulfilled its obligations under contract or statute. Plaintiff has not argued that UNM violated its

contractual duties to him. Plaintiff continued to work at his 0.05 FTE appointment, for which his

contract provided, until his resignation.

       Accordingly, Plaintiff’s cause of action rest of his allegations that UNM violated the

Rehabilitation Act’s prohibition of medical examinations by requiring him to undergo a

psychological evaluation as a condition of increased hours. However, the Rehabilitation Act, like

the Americans with Disabilities Act, allows medical examinations that are “job-related and

consistent with business necessity.” 42 U.S.C. § 12112(d)(4)(A). UNM listed several affirmative

defenses that are based on this exception. For instance, Affirmative Defenses V & VI state that

“Defendant's alleged actions were motivated by legitimate business purposes” and that “[T]he

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examinations in question were job-related, consistent with business necessity, and concerned

Plaintiff’s ability to perform the functions of his job,” respectively. Answer to Plaintiff’s First

Amended Complaint [Doc. No. 45, filed Jan. 5, 2017]. Plaintiff’s Motion seeks summary

judgment as to Affirmative Defenses I,II,III,XIII, XIV, and XV, and confirmation that UNM has

withdrawn Affirmative Defenses IV, and VIII. Plaintiff does not seek summary judgment as to

Affirmative Defenses V and VI, as UNM has provided ample factual support for those defenses.

Accordingly, UNM also has ample factual support for Affirmative Defense No. XIV, that UNM

acted in accordance with its statutory obligations. Therefore, summary judgment is inappropriate

as to that affirmative defense.

                                      VI. CONCLUSION

       This Court has the discretion to revisit the earlier Order denying UNM’s Motion to

Dismiss Plaintiff’s Amended Complaint and to find that Plaintiff’s causes of action are barred by

the statute of limitations and waiver. Moreover, Plaintiff admitted facts in his deposition that

demonstrate that his claims are time-barred. Moreover, UNM has produced more than adequate

evidence to support its affirmative defenses pertaining to its policy and its adherence to its

statutory responsibilities. Accordingly, Defendant Board of Regents of the University of New

Mexico respectfully requests that this Honorable Court deny Plaintiff’s Motion for Partial

Summary Judgment.


                                                     PARK & ASSOCIATES, LLC

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                                                      (505) 246-2805

I hereby certify that a true and correct copy
of the foregoing was served via CM/ECF
filing system to all counsel of record on this
__12th day of January, 2018.


/s/Lawrence M. Marcus
Lawrence M. Marcus




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